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                           Exhibit A
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Robinhood Financial, LLC SOP vs Isaac Gordon
1 message

Shantai Phillips <sphillips@incserv.com>
To: ARCHIT@ROBINHOOD.COM <ARCHIT@robinhood.com>, LEGAL_RHM@ROBINHOOD.COM <LEGAL_RHM@robinhood.com>
Cc: SOP <sop@incserv.com>


  Hello Archit,
  Please see the attached Service of Process.

      1.       Entity Served:                       ROBINHOOD FINANCIAL LLC

      2.       Title of Action:                     ISAAC GORDON vs ROBINHOOD FINANCIAL LLC

      3.       Document(s) Served:                  SUMMONS

      4.       Court/Agency:                        SUPERIOR COURT STATE OF WASHINGTON COUNTY OF SPOKANE

      5.       Nature of Action:                    YOU MUST RESPOND TO THIS COMPLAINT

      6.       Date of Service:                     10/14/2019

      7.       Jurisdiction Served:                 CALIFORNIA

               Appearance or Answer
      8.                                            20 DAYS
               due:

      9.       Method of Service:                   Rec'd from Process Server

      10.      Date Original Sent:                  10/15/2019

      11.      Notes:

  If you have any questions please let me know.
  Thank You,
  *The information provided has been extracted from the attached document and is not intended to represent legal advice or meant as an interpretation of law. The
  must be used for any legal decisions or other actions that may impact respondent its partners, clients or agents. Please review the document to conﬁrm the detai
  service.*




    Shantai Phillips                        We Are Growing! Incserv is excited to announce our new Maryland oﬃce.

    Service of Process Specialist           Located just steps away from the capital building in downtown Annapolis,
                                            our Maryland oﬃce is ready to serve your needs. For more information
    Incorporating Services, Ltd.            about our services in Maryland, email us at info@incserv.com .
    3500 S DuPont Hwy

    Dover, DE 19901

    800.346.4646

    302.531.0721 (direct)




   NOTE: We provide you with the most accurate and timely information possible. However, the ultimate responsibility for maintaining   the data of record lies with the jurisdiction's ﬁling oﬃce and we accept no liability for err
   information (and any attachments) should be judged accordingly .




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       831 KB




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